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                                       Office of the Clerk
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Molly C. Dwyer
Clerk of Court                          February 20, 2020


       No.:                   20-80038
       D.C. No.:              2:18-cv-01316-TSZ
       Short Title:           Mikeshia Morrison v. Esurance Insurance Company


       Dear Appellant/Counsel

       This is to acknowledge receipt of your Petition for Permission to Appeal under
       Federal Rule of Civil Procedure 23(f).

       All subsequent letters and requests for information regarding this matter will be
       added to your file to be considered at the same time the cause is brought before the
       court.

       The file number and the title of your case should be shown in the upper right
       corner of your letter to the clerk's office. All correspondence should be directed to
       the above address pursuant to Circuit Rule 25-1.
